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                                                                                                                  2023 Feb-03 PM 12:21
                                                                                                                  U.S. DISTRICT COURT
                                                                                                                      N.D. OF ALABAMA


                            IN THE UNITED STATES FOR THE
                           NORTHERN DISTRICT OF ALABAMA

JANE DOE1,               )
                         )
    Plaintiff,           )
                         )
v.                       )                                      Civil Action No.: 2:22-CV-00829-
                         )                                      MHH
                         )                                      JURY TRIAL DEMANDED
THE BOARD OF TRUSTEES OF )
THE UNIVERSITY OF ALABAMA)

          Defendants

                                       AMENDED COMPLAINT

          COMES NOW, Plaintiff Jane Doe (hereinafter “Plaintiff”) files her

Amended Complaint and Jury Demand (hereinafter referred to as the “Complaint”)

complaining of Defendant The Board of Trustees of The University of Alabama

(hereinafter “UAB”). In support thereof, Plaintiff offers the following:

     I.      Parties

1.        Plaintiff Jane Doe is a female individual who at the time of the sexual assault

complained of herein, was a student at the University of Alabama at Birmingham

and a resident of Blazer Hall.




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  “Jane Doe” has been substituted for Plaintiff’s name for all causes of action brought through this Complaint
which would otherwise publish important privacy interest of all parties. Plaintiff fears for her personal safety, as
well as that of her family and friends as a result of this Complaint. Fairly applying this concern, the Complaint also
identifies the perpetrator of rape as “Assailant.” Upon consultation with counsel for the Defendant, Plaintiff will
file a Motion to Proceed with Fictitious Names.
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2.     Defendant The Board of Trustees of the University of Alabama is an

educational institution with the subject campus being located in Birmingham,

Alabama.

II.    Jurisdiction and Venue

3.     The Court has subject matter jurisdiction over this case as the claims involve

state laws violated in this jurisdiction.

4.     Venue is proper in this district since Defendant resides or resided in this

district and the events or omissions giving rise to the claim occurred in this district.

5.     Plaintiff brings this action to redress a hostile educational environment

pursuant to Title IX of the Education Amendments of 1972, 20 U.S.C.§1681(a), as

more fully set forth herein. This action is brought pursuant to 42 U.S.C. §§1983 and

1988, and the Fourth Amendment to the United States Constitution, made applicable

to Defendants through the Fourteenth Amendment to the United States Constitution.

III.   Applicable Law

6.     Title IX of the Education Amendments of 1972 (“Title IX”), 20 U.S.C.

§168(a) states that “No person in the United States shall, on the basis of sex, be

excluded from participation in, be denied the benefit of, or be subjected to

discrimination under any education program or activity receiving Federal financial

assistance..”




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7.     Title IX is implemented through the Code of Federal Regulations. See 34

C.F.R. Part 106. 34 C.F.R. 106.8(b) which provides: “…A recipient shall adopt and

publish grievance procedures providing for prompt and equitable resolution of

student and employee complaints alleging any action which would be prohibited by

this part.”

8.     In Gebser v. Lago Vista Independent School District, 524 U.S. 274 (1988),

the United States Supreme Court recognized that a recipient of federal educational

funds intentionally violates Title IX, and is subject to a private damages action,

where the recipient is “deliberately indifferent” to known acts of discrimination.

9.     In Davis v. Monroe County Board of Education, 526 U.S. 629 (1999) the

United States Supreme Court extended the private damages action recognized in

Gebser to cases where the harasser is a student, rather than a teacher. Davis held that

a complainant may prevail in a private Title IX damages action against a school

district in cases of student-on-student harassment where the funding recipient is: a)

“deliberately indifferent to sexual harassment of which the recipient has actual

knowledge,” and b) “the harassment is so severe, pervasive and objectively offensive

that it can be said to deprive the victims of access to the educational opportunities or

benefits provided by the school.” Davis 526 U.S. at 1669-76.

10.    Title IX jurisprudence as well as Department of Education regulations have

long recognized that a single event of rape constitutes harassment so severe,


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pervasive and objectively offensive that it deprives its victims of access to the

educational opportunities provided by the school: “The more severe the conduct, the

less need there is to show a repetitive series of incidents to prove a hostile

environment, particularly if the harassment is physical. Indeed, a single or isolated

incident of sexual harassment may create a hostile environment if the incident is

sufficiently severe. For instance, a single instance of rape is sufficiently severe to

create a hostile environment.” U.S. Department of Education, Office of Civil Rights,

“Dear Colleague” Letter of April 4, 2011.

11.     Regardless, in the circumstances giving rise to the claims of this Plaintiff, and

others, a history of student harassment, resulting from deliberate indifference, has

been allowed to continue at the Defendant University for many years.

12.     Alabama law provides protections for students and requires the exercise of

reasonable care on the part of the University.

13.     Alabama law provides for the protection of invitees from foreseeable criminal

harm.

14.     Alabama law provides for a cause of action of breach of contract. Plaintiff has

an educational contract with the Defendant University that included agreements and

duties to provide adequately for their safety, to adequately and in compliance with

law report instance of sexual assault and/or harassment the breach of which cause

the damages claimed herein.


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IV.   General Allegations

15.   At all relevant times, UAB received federal funding for its academic programs

and activities and was subject to the requirements of Title IX of the Education

Amendments of 1972, 20 U.S.C. 1681(a)(hereinafter “Title IX”).

16.   The Defendant UAB implemented and executed policies and customs in

regard to the events that resulted in the deprivation of Plaintiff’s constitutional,

statutory and common-law rights.

17.   The Defendant UAB is responsible for providing the security of its students

and guests which it does through it private police force.

18.   The Defendant UAB is responsible for ensuring that all of its employees are

properly trained and supervised to perform their jobs.

19.   The Defendant UAB is responsible for the acts and omissions of its

employees, agents, part-time student workers, officers, and tenants.

20.   The Defendant UAB operates a UAB Police & Public Safety Department

which is in effect a private police force.

21.   The Defendant UAB is responsible for ensuring the officers and employees

within the University and the Police & Public Safety Department are properly trained

and supervised to perform their jobs.

22.   The Defendant UAB is responsible for the acts and omission so its employees,

agents, part-time student workers and tenants.


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23.     The Defendant UAB employees within the Police & Public Safety

Department received reports from Plaintiff concerning the rape she experienced

while at the University. They were told by the Plaintiff that she was raped at Blazer

Hall. Three officers were called and spoke with the Plaintiff; however, no one

investigated the matter, no one sought to get the Plaintiff assistance, no one took a

statement from the Plaintiff, no one obtained any details on the incident, no one

provided the Plaintiff mental health treatment, no one offered protection for the

Plaintiff, no one offered Plaintiff any assistance whatsoever, no one provided

Plaintiff with guidance to contact any other department or person within the

University. Rather, one of the UAB officers simply escorted Plaintiff back to Blazer

Hall.

24.     The Defendant UAB employees failed to adequately investigate the event

Plaintiff reported in violation of Title IX.

25.     At all times relevant to this Complaint, Defendant failed to protect Plaintiff

and others as it negligently, willfully, wantonly, maliciously, and with complete

deliberate indifference discharged its duty to provide safety to the students and

guests of the University.

26.     Defendant allowed co-ed occupation of Blazer Hall and allowed football

players to reside in the dormitory on the same floor as freshman female students

despite the fact the University was aware of other incidents involving football


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players assaulting female students and were aware of numerous occurrences of

sexual assaults at Blazer Hall.

27.   Plaintiff was a student at UAB starting in August 2020. Upon her arrival at

UAB, Plaintiff became acquainted with her assailant, an UAB football player. He is

5’11 and weighs approximately 215 lbs.

28.   The assailant was also a resident of Blazer Hall. He under false pretenses lured

Plaintiff to his dorm room telling her prior to her arrival he had the materials she

needed to complete a science project. Rather than provide the materials, the assailant

raped Plaintiff.

29.   Following the rape, the assailant continued to harass Plaintiff causing Plaintiff

to be fearful for her safety, to have mental anguish, suffer anxiety, to suffer PTSD,

worry, and distress.

30.   In or around January 2021, Plaintiff reported to three UAB Police officers

(one male and two female officers) that she was raped at Blazer Hall. However, the

UAB Police officers were deliberately indifferent and refused to treat the Plaintiff

and refused to investigate the matter which ultimately led to multiple suicide

attempts by the Plaintiff requiring hospitalization and withdrawal from UAB. In fact,

the UAB police officer in response to Plaintiff’s report that she was raped replied,

“it happens and walked her back to the dorm”. The officers did not take her name,

did not take notes, did not ask who the assailant was, did not offer to get Plaintiff


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medical and mental health attention when she clearly was so distraught, and failed

to ask even the most basic questions. They failed to obtain any significant testimony

from Plaintiff about the actual sexual assault. They did not give Plaintiff any

direction of what to do next other than to return to the dormitory where the assault

took place and told Plaintiff essentially such an assault was common and just to

move on. UAB officers had authority to address the reported assault but acted with

deliberate indifference and did nothing. In fact, no investigation or report was

undertaken until nearly one year later in or around November 2021 and even that

purported investigation has not been completed. UAB acted willfully, maliciously,

in bad faith, and with complete and deliberate indifference.

31.   It is clearly unreasonable in light of the fact three UAB officers were notified

of the sexual assault by the Plaintiff, the Plaintiff’s emotional and mental condition,

and the location of the assault in January 2021 and did nothing in response to this

notification. The inactions of UAB officers was deliberately indifferent and the delay

from notification was clearly unjustified.

32.   Title IX requires an educational institution to act when it has control over the

harasser and the place of harassment. Here, the act involved a student-athlete and

the rape took place in the dormitory. The Defendant clearly had control over the

assailant by virtue of his status as a student-athlete, and it had control over the

dormitory.


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33.    Under UAB’s governing Sexual Misconduct Policy, Title IX complainants

such as Plaintiff have rights including “to be informed of available options in making

a report,” to have “equal access to educational programs and activities and interim

protective measures as appropriate,” to “receive information regarding University

and community support resources,” to “request from the Title IX Coordinator that

the University issue and enforce a no contact directive,” and to do “a thorough and

impartial investigation”. In violation of its own policy and federal guidelines, the

UAB officers when the rape was reported initially by the Plaintiff did nothing and

were deliberately indifferent. They never informed Plaintiff of her rights, never

offered her interim protective measures, never offered her a no contact directive

against the assailant, never investigated or assessed her complaint after first being

informed in or around January 2021.

34.   Plaintiff was entitled to an assessment by the University of whether the

assailant was responsible for violating UAB’s Sexual Misconduct Policy. She was

at the least entitled to an “assessment” by the Title IX Office “to determine if

additional actions should be taken to protect the health and safety of the Plaintiff and

the campus community.” She wasn’t even directed by the police officers to a Title

IX office. The Plaintiff was not offered any relief or protection. The assailant

continued to harass the Plaintiff and attempted a second assault on the Plaintiff.




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35.   In fact, if the University had taken action in January 2021 when the sexual

assault was disclosed to the UAB officers, the assailant would not have sexually

assaulted another student which in fact he did after Plaintiff’s initial reporting.

Moreover, he would not have attempted a second attempt on the Plaintiff nor

continued to engage in harassing behaviors toward Plaintiff.

36.   The assailant, after Plaintiff reported the sexual assault against her, the

assailant assaulted another UAB student. This second assault could have and should

have been prevented if appropriate action was undertaken by UAB.

37.   Also, the University’s deliberate indifference caused Plaintiff’s worry,

anxiety, fear, PTSD, and emotional distress caused her further harm as she on two

later separate occasions attempted to take her own life, take medical leave from

UAB, and to ultimately withdraw from UAB.

38.   UAB maintains control over its Athletic Department and students. It

determines who remains a student, who remains on the football team, where students

reside, and the safety and well being of its student body.

39.   UAB’s refusal to address and assist Plaintiff in January 2021 when she first

reported the sexual assault was a clear deliberate indifference and allowed the

assailant to continue to contact and harass Plaintiff. UAB failed to take steps to

protect Plaintiff despite the fact they knew in January 2021 of the brutal rape and




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that she was understandably frightened to be in the same dorm where it took place

and on the same campus.

40.   Plaintiff was diagnosed with post-traumatic stress disorder from the assault

and remains under the care of a psychiatrist and other mental health providers.

41.   For well over ten months, following her reporting of the assault to three UAB

officers, UAB failed to inform Plaintiff of her Title II (ADA) rights to receive

counseling in a timely manner despite her anxiety; no one assisted her to get

counseling and treatment she needed; no one informed her of her rights under Title

IX; no one conducted an investigation into her complaint; no one assessed whether

the assailant was a threat to her; no one restricted the assailant from the Plaintiff; no

one offered her any of the interim or permanent protective measures required under

Title IX; no one restricted the assailant from contacting her; no one informed her

that she had a right not to be retaliated against by anyone at UAB; no one followed

up with her at any time to ensure she received any mental health or medical care; no

one encouraged her to remain at UAB; and no one assisted her in leaving UAB when

it became clear she was not safe and could not remain.

42.   Plaintiff withdrew from UAB and is now attempting to transfer; however,

UAB refused to release her transcript and demanded she pay monies she does not

owe – all in retaliation for Plaintiff vocalizing the assault about a star on the football

team. The transcript is necessary for Plaintiff to complete the transfer.


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43.   As a direct and proximate result of the assault and the deliberate indifference,

intentional discrimination and retaliation by UAB, Plaintiff’s fears, anxiety,

depression and PTSD grew increasingly worse. She has attempted suicide on

multiple occasions requiring hospitalization(s) and remains under psychiatric care.

She has undergone medical, psychological and psychiatric help. She had ever-

increasing fears, anxiety, sleeplessness, panic attacks, feelings of worthlessness and

hopelessness, loss of motivation, and a severe decline in overall functioning.

44.   The assailant further continued to harass the Plaintiff and attempted a second

assault on her – all of which would have been prevented had UAB undertaken the

proper procedures when the original incident was first reported.

45.   UAB acted deliberately indifferent, willfully and maliciously, in bad faith,

and beyond their authority all trying to hide an assault on campus. They failed to

discharge duties pursuant to detailed rules and regulations concerning reporting of

an assault.

                                   UAB’s Duties

46.    As a University seeking to educate students and profit from that relationship,

UAB owed Plaintiff a duty of reasonable care. Reasonable care is the degree of

caution and concern for the safety of students that an ordinarily prudent and rational

University may apply in the same circumstances. Sadly, universities seek to evade




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this standard rather than adhere to any degree of reasonableness when it comes to

the safety of students.

47.   More specifically, UAB had a duty to act as a reasonable university and apply

a reasonable degree of care in hiring, training, and supervising employees and

faculty that interact with students throughout the initial reporting of an assault to

throughout the entire Title IX process; and/or that apply and enact the University’s

own policies and procedures; and/or to train the UAB employees about what to do

if a student reports an on campus sexual assault; and/or to train the UAB employees

on how to conduct an investigation of reports of sexual assaults; and/or to train the

UAB employees on how to observe distress in students and to obtain health care for

students suffering physically and mentally. Finally, UAB possessed superior

knowledge of the risks to Plaintiff, and had the ability to control its employees (who

tolerated Plaintiff’s sexual assault by a football player) and its student-player (who

could have been disciplined under UAB’s sexual misconduct policies).

48.   In sum, UAB has and did have a duty to Plaintiff, as well as other students,

outside of the existence of a “special relationship.” Plaintiff can establish duties

owed, as well as violations of said duties, which are not dependent on the existence

of a special relationship.

49.   UAB breached its duties to Plaintiff in multiple ways, including by: a. Failing

to properly and/or adequately hire, train, and supervise employees and faculty as to


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proper methods of dealing with reports of sexual abuse, and investigate same and

accommodate victims in a manner that would permit them without undue hindrance,

to complete their higher education; b. Failing to properly and timely report incidents

or claims of sexual assault; c. Failing to provide adequate counseling and assistance

to victims of sexual assault; d. Failing to adequately monitor and supervise

departments, including athletic departments, to ensure compliance with protections

and standards for sexual assault prevention, reporting, and investigation; e. Failing

to discover, develop, and/or implement basic safeguards designed to prevent and/or

minimize incidents of sexual assault; f. Failing to investigate and/or monitor persons

accused of sexual assault to ensure additional events and/or harassment of victims

did not occur; g. Failing to adopt and implement adequate safeguards to prevent

known sexual harassment occurring on campus; h. Failing to provide adequate staff,

with proper training, to counsel and assist victims of sexual assault; i. Tolerating

sexual assailants on campus despite reports to the highest levels of their identities;

and despite reports that they continue to bully and/or harass their victims online

and/or in person; j. Failing to adopt education programs to promote awareness of

rape, acquaintance rape, and other sex crimes; k. Failing to adopt and enforce

institutional sanctions for sex offenses, both forcible and non-forcible; l. Failing to

adopt and enforce procedures students should follow if they become sexual assault

victims, including who should be contacted, the importance of retaining evidence,


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and to whom the offense should be reported; m. Failing to inform victims that they

have the option of reporting the sexual assault to law enforcement authorities and

that they will receive assistance from the institution in the process; n. Failing to

notify sexual assault victims about counseling services and options for changing

academic schedules and living arrangements in the wake of a sexual assault; o.

Failing to put in place an accurate routine procedure to notify the campus community

about serious criminal activity that is likely to be a threat to students and employees;

p. Failing to adopt and periodically review procedures to make sure they are

adequate to address complaints of serious sexual misconduct; q. Failing to develop

a clear policy about which kinds of sexual offenses will be handled internally and

which will be turned over to the criminal authorities; r. Failing to make the goal of

protecting the campus community from sexual assaults and harassment an integral

part of the institution's day-to-day mission; and s. Failed to implement anti-

retaliation policies for reporting, and/or failed to act on those policies when evidence

of retaliatory conduct was uncovered; by allowing co-ed dormitories between

females and male football athletes despite prior reporting of sexual assaults

involving football players in the same dorm where Plaintiff was assaulted.

50.   Despite the reporting of the incident, UAB police deliberately, willfully,

recklessly, and consciously decided not to investigate the matter. UAB also willfully,

maliciously, and acted in bad faith by failing to discharge duties and failing to follow


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UAB’s Title IX Sex Discrimination, Sexual Harassment, and Sexual Violence

Policy. UAB never issued a “No-Contact Order”; never provided Plaintiff any relief

allowed under UAB’s policy including but not limited to: Rescheduling of exams

and assignments; Providing alternative course completion options; Modification or

change in class schedule, including the ability to drop a course without penalty or to

transfer; Change in work schedule or job assignment; Change in student’s campus

housing; Leaves of absence; Assistance from University support staff in completing

housing relocation; Limiting access to certain University facilities or activities

pending resolution of the matter voluntary leave of absence; Providing academic

support services, such as tutoring; providing Escort services; providing Increased

security and monitoring of certain areas of the campus or similar measures;

providing referral to counseling services both on and off campus; failed to provide

Plaintiff resources on and off campus for trained advocates who can provide crisis

response; failed to provide assistance in identifying advocacy support to obtain

orders of protection within the criminal justice system, among other things.

51.   Despite having a policy that UAB encourages reporting of all crimes, UAB

did not provide Plaintiff any support and did not attempt to investigate her

allegations when the rape was reported. UAB’s policy states that “appropriate

support will be offered in every case”; however, UAB offered no support in this one.

Plaintiff’s claims were not investigated, she was not provided needed mental health


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treatment, she was not protected, and she was not provided with any relief. In fact,

after Plaintiff notified UAB police of the incident, the assailant continued to harass

the Plaintiff and attempted a second assault of her – all of which would have been

prevented. Moreover, Plaintiff’s mental health deteriorated further given the lack of

response and investigation by the UAB.

52.   The above breaches of Defendant UAB’s duties of reasonable care, which

flow to all students including Plaintiff, were the proximate cause of substantial injury

and damage to Plaintiff, as more specifically described herein.

53.   These damages include, without limitation, great pain of body and mind,

physical injury, shock, emotional distress, physical manifestations of emotional

distress, embarrassment, loss of self-esteem, disgrace, humiliation, and loss of

enjoyment of life; which Plaintiff has suffered and continues to suffer. Plaintiff was

prevented and will continue to be prevented from performing her daily activities and

obtaining the full enjoyment of life; has sustained and will continue to sustain loss

of earnings and earning capacity; and/or has incurred and continues to require

medical and psychological treatment.



V.    Causes of Action

COUNT I: VIOLATION OF TITLE IX OF                              THE     EDUCATION
AMENDMENTS OF 1972, 20 U.S.C.1681(a) et seq.,



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54.    Plaintiff hereby adopts and realleges each and every allegation in the

foregoing paragraphs of this Complaint as if fully set forth herein.

55.    At all times relevant hereto, UAB received federal funding for its educational

programs, and was subject to the provisions of Title IX of the Education

Amendments of 1972, 20 U.S.C. § 1681(a), et. seq., which guaranteed Plaintiff equal

access without discrimination to all educational programs at the UAB.

56.    The University’s actions and failures to act perpetrated against Plaintiff

amounted to unlawful sexual harassment and discrimination on the basis of her

gender. The harassment and discrimination was sufficiently severe and pervasive to

create an abusive and sexually hostile educational environment for Plaintiff,

sufficient that she was forced to leave the campus, and was ultimately a cause of her

mental anguish, physical harm, emotional distress, loss of sleep, worry, anxiety,

mental illness, and other damages.

57.    UAB was deliberately indifferent to a culture of sexual hostility and violence

instituting and/or mis-administering the policies cited herein, including without

limitation: • Violating its own policies set forth under Title IX; • Policy of no or little

discipline; • Policy of interference with female students’ access to help; • Policy of

not educating staff/students.

58.    UAB’s sexually hostile policies and practices were a proximate cause of

Plaintiff being subjected to multiple semesters of sexual harassment in the form of


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(1) a hostile educational environment, and (2) ongoing pain, mental anguish, and

harassment by forcing her to interact and share a housing facility with her assailant.

59.    The mental pain and anguish that Plaintiff suffered was so severe, pervasive,

and objectively offensive that it effectively barred her access to educational

opportunities and benefits.

60.   As a direct and proximate result of UAB’s creation of and deliberate

indifference to its sexually hostile educational environment, Plaintiff suffered

damages and injuries for which UAB is liable.

58.   By its actions as described above, UAB engaged in intentional discrimination

in violation of Title IX by the actions of the UAB police and personnel in interfering

with her ability to obtain needed, immediate treatment because of her reporting of

her assault.

59.   Plaintiffs further allege that UAB intentionally discriminated against Plaintiff

when the officers refused to provide the required assistance to allow Plaintiff to

obtain the available assistance to get not only mental health treatment but also to be

certain she would be free from exposure to the assailant. The delay resulted in

Plaintiff having to live in the same dorm with the assailant, in the same place where

the assault took place, to live in fear, to live in constant remembrance of the event.

Ultimately these events and omissions caused Plaintiff to suffer grave mental illness




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and attempt suicide on multiple occasions requiring hospitalization and continued

care.

60.     When asked to transfer, UAB has refused to expedite her withdrawal and

release her transcript.

61.     After Plaintiff reported the assault to three UAB officers in January 2021, the

University never investigated Plaintiff’s report. The officers did nothing but walk

her back to the dorm and tell her it happens. UAB never directed her to Title IX

representatives, never put in place a no contact order, never removed the assailant,

never did anything to protect Plaintiff or other students despite having knowledge of

the assault. In fact, had the UAB police officers investigated the matter they would

have prevented a subsequent assault by the same assailant who also assault a fellow

UAB student. UAB breached its duties to Plaintiff in multiple ways, including but

not limited to by: a. Failing to properly and/or adequately hire, train, and supervise

employees and faculty as to proper methods of dealing with reports of sexual abuse,

and investigate same and accommodate victims in a manner that would permit them

without undue hindrance, to complete their higher education; b. Failing to properly

and timely report incidents or claims of sexual assault; c. Failing to provide adequate

counseling and assistance to victims of sexual assault; d. Failing to adequately

monitor and supervise departments, including athletic departments, to ensure

compliance with protections and standards for sexual assault prevention, reporting,


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and investigation; e. Failing to discover, develop, and/or implement basic safeguards

designed to prevent and/or minimize incidents of sexual assault; f. Failing to

investigate and/or monitor persons accused of sexual assault to ensure additional

events and/or harassment of victims did not occur; g. Failing to adopt and implement

adequate safeguards to prevent known sexual harassment occurring on campus; h.

Failing to provide adequate staff, with proper training, to counsel and assist victims

of sexual assault; i. Tolerating sexual assailants on campus despite reports to the

highest levels of their identities; and despite reports that they continue to bully and/or

harass their victims online and/or in person; j. Failing to adopt education programs

to promote awareness of rape, acquaintance rape, and other sex crimes; k. Failing to

adopt and enforce institutional sanctions for sex offenses, both forcible and non-

forcible; l. Failing to adopt and enforce procedures students should follow if they

become sexual assault victims, including who should be contacted, the importance

of retaining evidence, and to whom the offense should be reported; m. Failing to

inform victims that they have the option of reporting the sexual assault to law

enforcement authorities and that they will receive assistance from the institution in

the process; n. Failing to notify sexual assault victims about counseling services and

options for changing academic schedules and living arrangements in the wake of a

sexual assault; o. Failing to put in place an accurate routine procedure to notify the

campus community about serious criminal activity that is likely to be a threat to


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students and employees; p. Failing to adopt and periodically review procedures to

make sure they are adequate to address complaints of serious sexual misconduct; q.

Failing to develop a clear policy about which kinds of sexual offenses will be

handled internally and which will be turned over to the criminal authorities; r. Failing

to make the goal of protecting the campus community from sexual assaults and

harassment an integral part of the institution's day-to-day mission; and s. Failed to

implement anti-retaliation policies for reporting, and/or failed to act on those policies

when evidence of retaliatory conduct was uncovered; by allowing co-ed dormitories

between females and male football athletes despite prior reporting of sexual assaults

involving football players in the same dorm where Plaintiff was assaulted.

61.   Despite the reporting of the incident, UAB police deliberately, willfully,

recklessly, and consciously decided not to investigate the matter. UAB also willfully,

maliciously, and acted in bad faith by failing to discharge duties and failing to follow

UAB’s Title IX Sex Discrimination, Sexual Harassment, and Sexual Violence

Policy. UAB never issued a “No-Contact Order”; never provided Plaintiff any relief

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and assignments; Providing alternative course completion options; Modification or

change in class schedule, including the ability to drop a course without penalty or to

transfer; Change in work schedule or job assignment; Change in student’s campus

housing; Leaves of absence; Assistance from University support staff in completing


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housing relocation; Limiting access to certain University facilities or activities

pending resolution of the matter voluntary leave of absence; Providing academic

support services, such as tutoring; providing Escort services; providing Increased

security and monitoring of certain areas of the campus or similar measures;

providing referral to counseling services both on and off campus; failed to provide

Plaintiff resources on and off campus for trained advocates who can provide crisis

response; failed to provide assistance in identifying advocacy support to obtain

orders of protection within the criminal justice system, among other things.

62.   Despite having a policy that UAB encourages reporting of all crimes, UAB

did not provide Plaintiff any support and did not attempt to investigate her

allegations when the rape was reported. UAB’s policy states that “appropriate

support will be offered in every case”; however, UAB offered no support in this one.

Plaintiff’s claims were not investigated, she was not provided needed mental health

treatment, she was not protected, and she was not provided with any relief. In fact,

after Plaintiff notified UAB police of the incident, the assailant continued to harass

the Plaintiff and attempted a second assault of her – all of which would have been

prevented. Moreover, Plaintiff’s mental health deteriorated further given the lack of

response and investigation by the UAB.




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64.   Each of the foregoing actions support Plaintiff’s contention that UAB engaged

in their own acts of intentional discrimination against Plaintiff, which are sufficient

to support an allegation of a Title IX violation.

65.   UAB violated Title IX by failing to protect Plaintiff while on campus in her

assigned dormitory.

66.   At all times relevant to this complaint, UAB had actual notice of Plaintiff’s

Title IX complaint and failed to adequately and reasonably respond, in violation of

Title IX and the University of Alabama at Birmingham’s Sexual Misconduct and

other policies, subjecting Plaintiff to further abuse and harassment.

67.   UAB employees employed as police officers were notified by Plaintiff of the

sexual assault on campus at her dormitory; however, the officers rather than

investigate the matter returned Plaintiff to the scene of the assault and told her it

happens. They did not ask her any questions, they did not compile a report, they did

not do anything to assist Plaintiff, they did not direct Plaintiff to a Title IX officer,

they did not get Plaintiff any mental health treatment which she desperately needed,

they did not put in place anything to protect Plaintiff, to assist Plaintiff or to protect

the other students of the University. In fact, failure to investigate and properly handle

led to not only Plaintiff’s continued fear, anxiety, and mental health injuries, the

assailant also sexually assaulted another UAB student. Defendant failed to address

known instances of student on student sexual assaults; Defendant engaged in


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deliberately encouraged Plaintiff to ignore what happened to her; Defendant

intentionally, deliberately, willfully, maliciously, and in bad faith decided to not

investigate Plaintiff’s report; Defendant made the deliberate choice to not take any

action when Plaintiff first reported the rape.

68.    Under UAB's sexual assault policies and procedures, UAB was required to

assess both the complaint and the danger posed to Plaintiff and the UAB community.

Not doing so was a gross dereliction of UAB’s duties, and was in deliberate

indifference to Plaintiff's rights to receive an education at the University of Alabama

at Birmingham. This indifference and choice by UAB not to investigate or assist

Plaintiff resulted in Plaintiff’s escalating fear that she would not be safe on campus

and led to Plaintiff’s decision to attempt suicide on multiple occasions and ultimately

to leave UAB for her health and safety. It also led to the assailant’s continued

harassment of the Plaintiff and a second attempt to sexually assault her.

69.    UAB was deliberately indifferent to Plaintiff’s complaints of rape by the

assailant. Its inaction in response to Plaintiff's reporting of the incident, its failure to

support and protect her rights under Title IX were clearly unreasonable in light of

the known circumstances. The UAB officers refused to ask questions, complete a

report, investigate Plaintiff’s complaint, failed to protect Plaintiff, failed to provide

her any Title IX assistance in connection with the rape. UAB’s officers deliberately

refused even to enter Plaintiff's complaint onto UAB's internal database which


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records complaints, until nearly one year later, when Plaintiff’s parent insisted and

Plaintiff requested an academic accommodation. As a result, Plaintiff was subject to

a continuing sexually hostile environment on the UAB campus, a loss of educational

opportunity at the University, mental anguish to the degree that Plaintiff attempted

to take her life on multiple occasions, continued harassment by the assailant, and a

second attempt to harm Plaintiff.

70.   UAB acted with deliberate indifference in deviating significantly from the

statutory standard of care requirements of Title IX outlined in the U.S. Department

of Education’s guidance letters and from the requirements of its own policies and

procedures.

71.   UAB failed to enact and/or disseminate and/or implement proper or adequate

procedures to discover, prohibit, or remedy the kind of discrimination that Plaintiff

suffered. This failure included, without limitation, non-existent or inadequate

customs, policies, or procedures for training staff and faculty in Title IX

requirements and their own Title IX policy, including the recognition, reporting,

investigation, and correction of unlawful Title IX discrimination and retaliation such

as Plaintiff experienced.

72.   UAB knew or should have known that dangerous consequences could be

suffered by individuals, including UAB student Plaintiff, by failing to properly train

and supervise its employees regarding the requirements of its Sexual Misconduct


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Policies. These failures amounted to deliberate indifference toward the unlawful

sexual conduct and retaliatory conduct that had occurred, was occurring, and was

likely to continue occurring to Plaintiff. As a result, Plaintiff was subject to

continuing harassment and a loss of educational opportunities at the UAB, suffered

continuous fear, worry, anxiety, and mental illness.

73.   UAB’s policies, customs, or practices in failing to train and supervise its

employees in proper procedure for responding to Title IX complaints fairly,

equitably, and without retaliation, were the proximate cause of, and moving force

behind, the violation of Plaintiff’s rights under Title IX, which led to her multiple

attempts at loss of life. The UAB officers whom Plaintiff reported the incident

deliberately did not investigate the matter, did not take down any information from

the Plaintiff, did not provide her any direction or guidance on Title IX protections,

did not provide her any protections, did not provide her medical and mental health

care, to the contrary, the UAB police returned Plaintiff to the dorm and told her it

happens. The UAB police officers failure to file a report, get Plaintiff help, provide

her direction on Title IX relief, to impose a no contact order, to investigate the

complaint in January 2021, and to respond at all was clearly unreasonable in light of

the known circumstances. Moreover, UAB further has known of the assault since

January 2021 and still has not concluded an investigation into the matter – nearly




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one year and half after she reported the incident, there is still no completed

investigation. This is clearly an unjustified lengthy delay for which UAB is liable.

74.   UAB was deliberately indifferent to Plaintiff's complaint when it failed to

undertake any investigation of Plaintiff's complaint against the assailant once it was

notified in January 2021. This initial failure led to the further failure to consider

whether it could or should enter a no trespass or no contact order against the

assailant. UAB had sufficient control over its student athletes. This deliberate

indifference led Plaintiff to withdraw from the University, resulting in the loss of

Plaintiff’s educational opportunities at UAB. The University’s conduct also resulted

in Plaintiff’s rapid descent into complete emotional instability, which ultimately led

to multiple attempts to take her own life.

75.   Plaintiff's notification to the University that she had been raped on campus in

Blazer Hall, which was made through the UAB Police Department in January 2021,

was a protected Title IX complaint. An investigation should have been conducted

and under the University's Sexual Misconduct Policy, and triggered all of Plaintiff's

rights to be protected under Title IX.

76.   UAB's Policy reads: "Any individual who believes they have experienced or

witnessed Prohibited Conduct or related retaliation is encouraged to report the

behavior to a Designated Responsible Reporting Official, who will notify the Title

IX Coordinator. When a Responsible Reporting Official, while acting in their


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official capacity as a University employee, knows or reasonably should know of the

alleged offense, the University is deemed to have notice of the alleged incident and

will take appropriate action, including measures aimed at ending the inappropriate

conduct, preventing its recurrence, and remediating its effects."

77.   UAB retaliated against Plaintiff by refusing to intervene, refusing to conduct

an investigation, refusing to protect Plaintiff and other students from the assailant,

by forcing Plaintiff to share a dormitory with the assailant, by refusing to provide

any protections, by refusing to allow her to transfer to another institution, and by

refusing to release her transcript. All of these retaliatory actions were taken because

of Plaintiff's protected Title IX complaint. Knowing that any of these actions could

befall them would cause other students to question whether they should risk making

a Title IX complaint to the University.

      WHEREFORE, PREMISES CONSIDERED, Plaintiff demands judgment

against the Defendant for all damages awardable under Title IX.

COUNT 2: GENDER DISCRIMINATION UNDER TITLE IX:
DELIBERATE INDIFFERENCE TO PLAINTIFF’S RAPE (Violation of Title
IX of the Education Amendments of 1972, 20 U.S.C. § 1681(a))


78.   Plaintiff incorporates by reference all preceding facts and allegations set forth

above.

79.   UAB was on notice and aware of Plaintiff’s rape as well as the fact it took

place in Blazer Hall, a dormitory housing only students, including football players.
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80.   UAB deliberately chose not to fully investigate the football player, even after

the rape of Plaintiff and her subsequent report to the UAB police in January 2021.

UAB’s response to Plaintiff’s reporting of the sexual assault was clearly

unreasonable. UAB police discouraged Plaintiff from pursuing the matter, dismissed

her report of a rape by stating that “it happens”, by refusing to undertake any

investigation which subjected Plaintiff to further harassment by the assailant, a

second attempt to assault Plaintiff, further worry, emotional distress, anxiety and

mental anguish, self-harm, continued feelings of being unsafe while having to

remain in the same dormitory with the assailant. UAB’s response was clearly

unreasonable as it placed Plaintiff vulnerable to additional discrimination and sexual

harassment by the assailant. The harassment was severe, pervasive, and objectively

offensive that it effectively barred the Plaintiff’s access to an educational

opportunity or benefit. UAB failed to take any precautions that would prevent future

attacks from the assailant by, for example, removing him from student housing or

suspending him and by failing to implement a more protective sexual harassment

policy to handle future incidents, by investigating the matter, by providing Plaintiff

other safety protections available to UAB.

81.   From January 2021 until sometime nearly one year later, UAB failed to

acknowledge Plaintiff’s reporting of the incident and such failure to investigate the




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assault, conduct any disciplinary hearings, or contact Plaintiff and offer any

assistance or resources was clearly unreasonable. UAB also deliberately:

a. failed to proper hire, train and retain officers, staff and faculty as to proper

methods to deal with reports of sexual abuse, investigate same and accommodate

victims in a manner that would permit them to without undue hindrance, and

complete their higher education;

b. Failed to properly and timely report incidents of sexual assault;

c. Failed to provide adequate counseling and assistance to victims of sexual assault;

d. Failed to adequately monitor and supervise departments, including athletic

departments, to ensure compliance with protections and standards for sexual assault

prevention, reporting and investigation;

e. Failed to discover, develop and/or implement basic safeguards designed to prevent

and/or minimize incidents of sexual assault;

f. Failed to investigate and/or monitor persons accused of sexual assault to ensure

additional events did not occur;

g. Failed to adopt and implement adequate safeguards to prevent known sexual

harassment occurring on campus;

h. Failed to provide adequate staff, with proper training, to counsel and assist victims

of sexual assault;




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i. Tolerated sexual assailants on campus despite reports to the highest levels of their

identities;

j. Failed to adopt education programs to promote awareness of rape, acquaintance

rape, and other sex crimes;

k. Failed to adopt and enforce institutional sanctions for sex offenses, both forcible

and non-forcible;

l. Failed to adopt and enforce procedures students should follow if they become

sexual assault victims, including who should be contacted, the importance of

retaining evidence, and to whom the offense should be reported;

m. Failed to inform victims that they have the option of reporting the sexual assault

to law enforcement authorities and that they will receive assistance from the

institution in the process;

n. Failed to notify sexual assault victims about counseling services and options for

changing academic schedules and living arrangements in the wake of a sexual assault

and address or protect against retaliation in the wake of reporting a sexual assault;

o. Failed to put in place an accurate routine procedure to notify the campus

community about serious criminal activity that is likely to be a threat to students and

employees;

p. Failed to adopt and periodically review procedures to make sure they are adequate

to address complaints of serious sexual misconduct.


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q. Failed to develop a clear policy about which kinds of sexual offenses will be

handled internally and which will be turned over to the criminal authorities;

r. Failed to recognize and address the high propensity of rapes and sexual assaults

taking place in co-ed dorms, especially in Blazer Hall where football athletes

cohabitate with females; and

s. Failed to make the goal of protecting the campus community from sexual assaults

and harassment an integral part of the institution's day-to-day mission of providing

a safe and secure learning and working environment.

t. Failed to abide by, enforce or follow the rules and regulations of the UAB,

including but not limited to UAB’s Sexual Discrimination and Harassment Policy

concerning the reporting of an assault by a fellow UAB student, and willfully and

maliciously, recklessly failed to investigate the complaint, and failed to provide

Plaintiff any of the following relief allegedly available under the UAB’s policies and

procedures: a “No-Contact Order”; never provided Plaintiff any relief allowed under

UAB’s policy including but not limited to: Rescheduling of exams and assignments;

Providing alternative course completion options; Modification or change in class

schedule, including the ability to drop a course without penalty or to transfer; Change

in work schedule or job assignment; Change in student’s campus housing; Leaves

of absence; Assistance from University support staff in completing housing

relocation; Limiting access to certain University facilities or activities pending


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resolution of the matter voluntary leave of absence; Providing academic support

services, such as tutoring; providing Escort services; providing Increased security

and monitoring of certain areas of the campus or similar measures; providing referral

to counseling services both on and off campus; failed to provide Plaintiff resources

on and off campus for trained advocates who can provide crisis response; failed to

provide assistance in identifying advocacy support to obtain orders of protection

within the criminal justice system, among other things. UAB’s own rules,

regulations and policies state that all reports of a criminal nature, especially the

reporting of an assault by a fellow student, would be investigated and a litany of

relief is allegedly available under the policies. However, UAB breached their own

policies by willfully, recklessly, maliciously and in bad faith refusing to investigate

the matter and to provide any of the allegedly available relief to the Plaintiff. UAB

failed to discharge their duties pursuant to UAB’s own policies and procedures.

82.   UAB’s deliberate indifference to Plaintiff’s rape exposed her to continued

mental pain and anguish and sexual harassment which was so severe, pervasive, and

objectively offensive that it effectively barred her access to meaningful educational

opportunities and benefits including academics, athletic programs, and on-campus

events and activities.

83.   As a direct and proximate result of UAB’s deliberate indifference to Plaintiff’s

rape, Plaintiff suffered damages and injuries for which UAB is liable.


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WHEREFORE, the above premises considered, Plaintiff seeks any and all

available damages, including but not limited to

                                 JURY DEMAND

      Plaintiff hereby demands a trial by jury.

                                                  /s/ Jamie A. Johnston
                                                  ________________________
                                                  Counsel for Plaintiff
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                         CERTIFICATE OF SERVICE

      A copy of the foregoing has been transmitted to the following counsel of
record via the Court’s electronic filing system and/or via electronic mail by the
Undersigned counsel for the Plaintiff on this the 3rd day of February 2023.

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